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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,
                     Plaintiffs,
      v.                                     5:21-cv-844-XR

THE STATE OF TEXAS,

                           Defendants.
OCA-GREATER HOUSTON, et al.,
                    Plaintiffs,
      v.                                     1:21-cv-0780-XR

JOHN SCOTT,

                           Defendants.
HOUSTON AREA URBAN LEAGUE, et al.,
                    Plaintiffs,
     v.                                      5:21-cv-0848-XR

GREG ABBOTT, et al.,

                           Defendants.
LULAC TEXAS, et al.,
                           Plaintiffs,
       v.                                    1:21-cv-0786-XR

JOHN SCOTT, et al.,

                           Defendants.
MI FAMILIA VOTA, et al.,
                           Plaintiffs,
       v.                                    5 :21-cv-0920-XR

GREG ABBOTT, et al.,

                           Defendants.
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                MOTION TO WITHDRAW APPEARANCE OF COUNSEL
       Please take notice that Christina M. Beeler respectfully moves the Court to permit her to

withdraw as counsel of record for Isabel Longoria, in her Official Capacity as Harris County

Elections Administrator. Defendant Isabel Longoria, in her Official Capacity as Harris County

Elections Administrator will continue to be represented by Christian D. Menefee, Jonathan G.C.

Fombonne, Tiffany S. Bingham, Sameer S. Birring, and Susannah C. Mitcham of Harris County

Attorney’s Office.

       Counsel of record for State Defendants, El Paso County Elections Administrator Lisa

Wise, GOP Intervenors, Houston Area Urban League, La Union Del Pueblo Entero, Travis

County Defendants, Hidalgo County Elections Administrator Yvonne Ramon, and OCA Greater

Houston indicated that they do not oppose the motion. Defendant did not receive a response from

the remaining parties in the case.

       A proposed order is attached to this motion.

Dated: June 3, 2022                              Respectfully submitted,


                                                   /s/ Christina M. Beeler
                                                   Christian D. Menefee
                                                   Harris County Attorney
                                                   Texas Bar No. 24088049
                                                   Christian.Menefee@harriscountytx.gov
                                                   Jonathan G.C. Fombonne
                                                   First Assistant Harris County Attorney
                                                   Texas Bar No. 24102702
                                                   Jonathan.Fombonne@harriscountytx.gov
                                                   Tiffany S. Bingham
                                                   Managing Counsel
                                                   Texas Bar No. 24012287
                                                   Tiffany.Bingham@harriscountytx.gov
                                                   Sameer S. Birring
                                                   Assistant County Attorney
                                                   Texas Bar No. 24087169

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                                  Sameer.Birring@harriscountytx.gov
                                  Christina M. Beeler
                                  Assistant County Attorney
                                  Texas Bar No. 24096124
                                  Christina.Beeler@harriscountytx.gov
                                  Susannah C. Mitcham
                                  Assistant County Attorney
                                  Texas Bar No. 24107219
                                  Susannah.Mitcham@harriscountytx.gov
                                  OFFICE OF THE HARRIS COUNTY ATTORNEY
                                  1019 Congress Plaza, 15th Floor
                                  Houston, Texas 77002
                                  Telephone: (713) 274-5101
                                  Facsimile: (713) 755-8924

                                  Attorneys for Defendant ISABEL
                                  LONGORIA, in her Official Capacity as
                                  Harris County Elections Administrator




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                              CERTIFICATE OF SERVICE

        I certify that on the 3rd day of June, 2022, a true and correct copy of the foregoing
document was delivered to all counsel of record via the Court’s CM/ECF system and served by
electronic notice to all parties of record.

                                                  /s/ Christina M. Beeler
                                                  Christina M. Beeler




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